Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 1 of 6



                          UNITED STATES DISTRICT COURT
                          SO U TH ER N D ISTR IC T O F FLO R IDA

                            CaseNo. î.q<.%%q-
 UN ITED STA TES O F A M ER ICA

 V.


  CHRISTOPHER DA NIEL STINES.

                  D efendant.            /


                                C RIM IN A L C O V ER SH EET

      Did thism atteroriginate from a matterpending in the CentralRegion ofthe United States
      Attorney'sOfficepriortoAugust9,2013(M ag.JudgeAliciaValle)?                Yes / No
      Did thismatteroriginatefrom a m atterpending in the Northern Region ofthe United States
      Attorney'sOfficepriortoAugust8,2014 (M ag.JudgeShaniekM aynard)?           Yes / No


                                             Respectfully subm itted,

                                             AR IA N A FA JA RD O O RSHAN
                                             UNITED STATES ATTORNEY


                                     BY :
                                             EliS.Rubin
                                             A SSISTAN T UN ITED STATES A TTORN EY
                                             D istrictCourtN o. A 5502535
                                             99 N.E.4th Street
                                             M iam i,Florida 33132
                                             Tel:       (305)961-9247
                                             Fax:       (305)536-4699
                                             Email:     Eli.Rubin@ usdoj.gov
     Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 2 of 6
AO #1(Rev.08009) Crimi
                     nalComplaint

                                 U NITED STATES D ISTRICT C OIJRT
                                                        forthe
                                             Southern D istrictofFlorida

               United StatesofAmerica
                            V.                                                -5J@q- #et
                                                                 casexo. lq m ;        'a
          CHRISTOPHER DANIEL STINES,




                                              CRIM INAL CO M PLA INT

         1,the com plainantin thiscase,state thatthe following istrueto thebestofmy know ledgeand belief.
Onoraboutthedatets)of                 Auqust22,2019,             inthecounty of               Miami-Dade              in the
     Southern       Districtof          Florida        ,thedefendantts)violated:
           CodeSection                                              Om nseDescrlption
 18 U.S.C.j 554                          Sm uggling goods from the United States




         Thiscriminalcomplaintisbased on these facts:
          SEE ATTACHED AFFIDAVIT.




         W continuedontheattachedsheet.
                                                                                   A                            ..>


                                                                                       Complainant'
                                                                                                  ssi
                                                                                                    gnature

                                                                             Elvi
                                                                                s Corrales,SpecialAgent,HSI
                                                                                   Printednameand title

 Sworn to before me and signed in m y presence.


 Date:          08/23/2019
                                                                                         Judge'
                                                                                              ssignature

 City and state:                    Miami,Florida                    HON.LISETTE M.REID,U.S.MAGISTRATE JUDGE
                                                                                        Printed nameand title
Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 3 of 6



                            A FFIDA V IT IN SU PPO R T O F CO M PLA IN T

         1,ElvisCorrales,SpecialAgentofHomeland Security lnvestigations(ûtHS1''),beingduly
 sworn,hereby statesasfollows:

                                           IN TR O D U CTIO N

         1.     lhavebeenaSpecialAgentwithHS1inM iami,Florida,forovertwelve(12)years,
  dtlring w hich tim e1have been involved in num erous investigationsinvolving w eaponstrafficking,

  narcoticstrafticking,andmoneylaundering.Priortothisassignment,forseven(7)years,lwasa
  Customslnspectorwith United StatesCustomsand BorderProtection (tûCBP'')assigned tothe
  M iam i Oftice of Field Operations,where I worked on cases involving narcotics trafficking,

  narcoticsproceeds,m erchandiseand weaponssm uggling,and terroristweaponry.lhavereceived

  num erous hottrs of specialized training in U .S.Custom s,lmm igration laws,and investigative

  methods. As a resultofm y training and experience,1understand how w eapon traffickers and

  weapon-trafticking organizations comm unicate with each other;purchase,transport,store,and

  distribute weapons'
                    ,and concealprotitsgenerated from thosetransactions.

                 1am an investigative orlaw enforcementofficer ofthe United States within the

  meaningofSection2510(7)ofTitle18oftheUnited StatesCode.
                 M y knowledge of the facts alleged in this Affidavit arises from my personal

  knowledge and observations,my training and experience,and inform ation obtained from other

  law enforcem entofficers.ThisAffidavitdoesnotincludeevery factknown to m econcerningthis

  ongoing investigation. I have included only those facts and eircum stances that l believe are

  sufficientto establish probable cause forthearrestofChzistopherDanielSTINES (hereinafter

  EûSTINES'')
Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 4 of 6



                                       R ELEV AN T STA TU TES

                In furtherance ofthe nationalsecurity and foreign policy interests ofthe United

 States,the United Statesregulates and restricts the expol'tofarm s,m unitions,im plem entsofwar,

 anddefensearticlespursuanttotheArmsExportControlAct(theCW ECA'') codified atTitle22,
 United StatesCode,Section 2778.

                A principalpurpose ofthese laws is to provide accurate and truthfulinform ation to

 the U nited Statesto allow departm ents ofthe U nited Statesgovernm entto m onitorand controlthe

 distribution,exportation,and delivery ofdefense articles.

         6.     The regulations that govern sueh exports are the lnternational Traffic in A rm s

 Regulations(theiç1TAR''),codified atTitle22,CodeofFederalRegulations,Sections 120-130.
 lncluded intheITAR isalistofdefensearticlesand defenseservicesthataresubjecttocontrol.
 This list,found in Title22,Code ofFederalRegulations,Section 121.1,is called the United States
                                 ,




 M unitionsList(CûUSML'').
         7.     Title 18,U nited States Code, Section 554 provides, in relevant part, ûtW hoever

  fraudulently orknowingly exportsorsendsfrom theUnited States,orattemptsto exportorsend

  from theUnited States,anymerchandise,article,orobjectcontraryto anylaw orregulationofthe
  U nited States,or receives,conceals,buys,sells,or in any m anner facilitates the transportation,

  concealment,orsaleofsuchmerchandise,articleorobject,priortoexportation,knowingthesnme
  to be intended forexportation contrary to any 1aw orregulation ofthe United States,shallbe ...

  im prisoned notm ore than 10 years ....''

                                          PRO BA BLE C A USE

         8.     O n oraboutA ugust22,2019,CBP O fficersatM iam ilnternationalA irport,located

  in M iam i,Florida,conducted an outbound bordersearch ofpassengersand theirbelongingsaboard
             Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 5 of 6
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                 AirFrance tlight619 departing M inmi,Florida,and scheduled to arrive in Po14au Prince,Haiti.
h
                 UponinspectingthecheckedluggageofSTINES,aHaitiancitizenintheUnited Stateson aB1/B2

                 nonimmigrantvisa forpleasure,CBP oftkersdiscovered twenty-three (23)AR-I5 assaultrifle
                 weapon parts. Specifically,ofticersfound eight(8)AR-15 Triggers,five (5)AR-15 Selector
                 Switches,three(3)AR-15Hammers,two(2)AR-15Disconnectors,tlu'
                                                                           ee(3)AR-15Hammerand
)                                                                                                                 .
i                TriggerPins,andtwo (2)AR-15 TriggerGuards. TheseAR-15 assaultrit
                                                                                lepartsareregulated
t
                 export-controlleditemsbyITAR undertheUM SL.Anyoneseekingtoexportthem isrequiredto

)                obtain an exportlicensefrom the Departm entofState.
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?                        9.     A search ofunited states governmentdatabases indicated thatsTlxEs had not
)
                 obtainedtherequiredlicensepriortoattemptingtodeparttheUnitedStatesforHaitiwiththe23
.'
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L                A R-15 assaultritle w eapon parts.
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)                        10.    On August22,2019,CBP and H S1agentsread STINES hisM iranda rights. He
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)                subsequently executed a written M iranda waiverand agreed to be interviewed. STINES stated
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)                thathepreviously purchased weapon partsapproximatelytwo (2)tofour(4)timesthrough the
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t                websitesofdifferentvendors. A bordersearch ofhisiphoneX,however,revealed m ore than 20
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'
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@                invoicesfrom differentvendors ofw eapon partsdating back to 2012. The invoicesw ere e-m ailed
:)
 7
 '               toCs-l-m Esgxxj@ hotmail.eom andwerelocated withintheiphoneX'se-mailapplication.l
 (L                                                                          '
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 )                       11.    During theinterview ,STINES said thathe did notknow thathe needed a license
 t
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 ï.
                 to exportthe A R-I5 assaultrifle w eapon parts. H ow ever,1 contacted tw o vendors from whom
 )

 '               STINE S has purchased w eapon parts, Brownells and Loham A rm s, and both stated that the
 )
rq


 'C              invoicesprovided to custom ers upon ptuvhase contains noticesofexportregulationsrelated to the
  r .


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                 weapon partsbeingexported outofstateand/orthe United States.
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    7             1 STIN ES'Siphonewaslocated onhisperson.
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        T.
                                                              3
Case 1:19-mj-03349-LMR Document 1 Entered on FLSD Docket 08/23/2019 Page 6 of 6



              Based upon the foregoing,I subm itthatthere is probable cause to believe that

 STINES knowingly and willfully attem pted to exportfrom the United States to Haiti, w ithout

 license,twenty-three(23)AR-15assaultrifleweaponparts,specifically;eight(8)AR-15Triggers,
 tive(5)AR-15SelectorSwitches,three(3)AR-15Hammers,two(2)AR-15Disconnectors,three
 (3)AR-15HammerandTriggerPins,andtwo (2)AR-15TriggerGuards,in violation ofTitle18,
 United StatesCode,Section 554.



              FUR THER A FFIAN T SA YETH N A U G HT




                                            Elvis C rrales
                                            SpecialA gent,H om eland Security Investigations



                                                     3 '% Cï
       subscribed to and sw ol.
                              n before m e on this             day ofAugust2019:




       H ON OR ABLE LISETTE M .REID
       UN ITED STA TES M A GISTR ATE JUD G E
       SO U THERN D ISTRICT OF FLO RID A




                                             4
